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               1   Michael S. Devereux (State Bar No. 225240)
                             WEXFORD LAW
               2
                   9171 WILSHIRE BOULEVARD, SUITE 500
               3    BEVERLY HILLS, CALIFORNIA 90210
               4        TELEPHONE: (424) 444-0883

               5
                   Attorney for Plaintiff, Daniel Nersoyan
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               7
                                         UNITED STATES DISTRICT COURT
               8
                          CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
               9

              10
                                                                CASE NO. CV19-08109 SVW (MAAx)
              11    DANIEL NERSOYAN,
                                                                Hon. Stephen V. Wilson
              12                      Plaintiff,                AFFIDAVIT / DECLARATION OF
              13                                                MICHAEL DEVEREUX IN
WEXFORD LAW




                    v.                                          SUPPORT TO CONTINUE
              14
                    COUNTY OF LOS ANGELES, a county             MOTION FOR SUMMARY
              15                                                JUDGMENT
                    corporation; COUNTY OF LOS
              16    ANGELES SHERIFF’S
                    DEPARTMENT, a public entity;
              17                                                Trial Date: January 12, 2021
                    SHERIFF JAMES MCDONNELL, in his
              18    official capacity and as an individual;
              19
                    DEPUTY KENNETH COLLINS,
                    individually and in his official capacity
              20    as a Deputy, and DOES 1 through 10,
              21
                    inclusive

              22                      Defendants.
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               1   DECLARATION OF COUNSEL
               2
                         1.      I am duly admitted to practice before all courts in the State of
               3

               4   California, and before the following federal courts: the Central District of

               5   California, the Eastern District of California, the Southern District of California, the
               6
                   Northern District of California, along with the Ninth Circuit Court of Appeals. I am
               7

               8   the attorney of record in this matter. If called upon as a witness I could and would
               9   competently testify to the contents hereof.
              10
                         2.      This declaration is submitted pursuant to Fed.R.Civ.P. 56(d) and
              11

              12   Tatum v. City and Cty. of San Francisco, 441 F.3d 1090, 1100 (9th Cir. 2006)
WEXFORD LAW




              13   containing specific facts that further discover would reveal.
              14
                         3.      The following facts would be available in further discovery and
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              16   preclude summary judgment since the public officials in this matter would not be
              17   eligible for qualified immunity based upon the following facts that would be
              18
                   revealed:
              19

              20               a. DEFENDANT COLLINS IS NOT ENTITLED TO QUALIFIED
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                                 IMMUNITY. Further discovery will reveal that on or about May 28,
              22
                                 2014, while driving his LASD patrol car, wearing his LASD uniform,
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              24                 and possessing a firearm, defendant COLLINS conducted an unlawful
              25
                                 traffic stop of a vehicle and illegally seized approximately $160,000 in
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                                 cash from the vehicle. Defendant COLLINS was aware, in advance of
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              28                 the traffic stop, that there would be a large sum of cash in the vehicle
                                                               2
                                          DECLARATION OF MICHAEL DEVEREUX
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               1               and conducted the traffic stop for the purpose of illegally seizing the
               2
                               cash. There was no reason to stop the car, there was no probable cause
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               4               to seize the money. (In fact, the Sheriff was not assigned to the area in

               5               which the stop took place. It was later discovered that the area was
               6
                               patroled by the LAPD.) In violation of LASD policy, defendant
               7

               8               COLLINS failed to report to LASD that he had conducted the traffic
               9               stop or seized any cash that day.
              10
                            b. To be entitled to qualified immunity on a claim of unreasonable
              11

              12               seizure, defendant police officers needed only to have possessed
WEXFORD LAW




              13               arguable probable cause to seize plaintiff, a fellow officer, not actual
              14
                               probable cause, and “arguable probable cause” exists when a
              15

              16               reasonable police officer in the same circumstances and possessing the
              17               same knowledge as the officer in question could have reasonably
              18
                               believed that probable cause existed in the light of well established
              19

              20               law. See 42 USCA § 1983, Notes of Decisions, Westlaw, Cerrone v.
              21
                               Brown, 246 F.3d 194 (2001 First Circuit). Here, Collins admitted that
              22
                               in his plea agreement and at sentencing that he did not have arguable
              23

              24               probable cause. This admission was totally ignored by the County.
              25
                            c. DEFENDANT LOS ANGELES COUNTY (County) AND LOS
              26
                               ANGELES COUNTY SHERIFF DEPARTMENT (Sheriff)
              27

              28               UNREASONABLENESS DOES NOT WARRANT QUALIFIED
                                                             3
                                        DECLARATION OF MICHAEL DEVEREUX
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               1               IMMUNITY. Further discovery will reveal that in evaluating the
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                               conduct of the County and the Sheriff for purposes of determining
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               4               entitlement to qualified immunity, the Court does not focus on the

               5               entities subjective state of mind, such as bad faith or malicision
               6
                               intention, rather the applicable standard requires the court to make an
               7

               8               objective analysis of reasonableness in light of the facts actually
               9               known and not to consider subject assessment of those facts. See 42
              10
                               USCA § 1983, Notes of Decisions, Westlaw, Sheehy v. Town of
              11

              12               Plymouth, 191 F.3d 15 (1999 First Circuit).
WEXFORD LAW




              13                  i. The sheriff was unreasonable from the very beginning. At the
              14
                                     moment of the violation, the Sheriff was contacted and informed
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              16                     of what was transpiring, i.e. Collins seized a substantial amount
              17                     of money without probable cause. For months, the Sheriff
              18
                                     refused/failed to take any action, denying that such action had
              19

              20                     taken place.
              21
                                 ii. Within six months the Plaintiff filed a formal complaint with
              22
                                     the County. Apparently the County assigned the complaint to
              23

              24                     the Sheriff department.
              25
                                         1. Further discovery will show that the Sheriff unfairly and
              26
                                            unreasonably relied on the participation of a non-
              27

              28                            percipient witness as the focus of their investigation.
                                                             4
                                        DECLARATION OF MICHAEL DEVEREUX
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               1                          Despite the fact that the Sheriff had knowledge of a young
               2
                                          percipient witness, who also had been in contact with law
               3

               4                          enforcement for various non-related vehicle code

               5                          violations, further discovery will demonstrate that the
               6
                                          Sheriff refused or failed to leave his desk chair to
               7

               8                          investigate - hoping that the young percipient witness
               9                          (who likely no longer trusted anyone in the Sheriff’s
              10
                                          department) would eventually come to the Sheriff.
              11

              12                       2. The Sheriff interviewed Collins and further discovery will
WEXFORD LAW




              13                          prove that the Sheriff covered up for Collins, despite the
              14
                                          Sheriff knowing that Collins was assigned the car
              15

              16                          identified in the unlawful taking. In addition, further
              17                          discovery will prove that the Sheriff, knew or should have
              18
                                          known that Collins squad car was precisely at the spot as
              19

              20                          reported by the Plaintiff on or about May 28, 2014.
              21
                                       3. Further discovery will show that the unreasonable
              22
                                          response by Collins that he hasn’t made a traffic stop
              23

              24                          since 2012, did not explain the reason that the car Collins
              25
                                          was driving was at the location and time of the unlawful
              26
                                          taking.
              27

              28
                                                          5
                                       DECLARATION OF MICHAEL DEVEREUX
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               1                       4. Further discovery will verify that the Sheriff knew that at
               2
                                          the time of the allegation the car assigned to Collins was
               3

               4                          not in an area patroled by the Sheriff. The Sheriff knew

               5                          such as memoralized in a letter that the Sheriff’s
               6
                                          investigator allegedly sent to the Plaintiff.
               7

               8                       5. Further discovery will support that when the non-
               9                          percipient witness stopped cooperating, the investigation
              10
                                          was swept under the rug immediately and never reopened
              11

              12                          - despite significant events that occurred later including
WEXFORD LAW




              13                          the 2018 arrest of Collins by the FBI and Collins
              14
                                          admitting that he had unlawfully seized the funds under
              15

              16                          the color of law throughout 2018.
              17                       6. Further discovery will substantiate that in early to mid
              18
                                          2017, the Sheriff discovered that Collins was a target of
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              20                          an FBI investigation for unlawful conduct.
              21
                                       7. Further discovery will prove that in 2017, when the
              22
                                          Sheriff knew that Collins was a targe of an FBI
              23

              24                          investigation the Sheriff refused/failed to reopen the
              25
                                          matter.
              26
                                       8. Further discovery would show that it would have been
              27

              28                          reasonable for the Sheriff to contact the Plaintiff in 2017.
                                                           6
                                       DECLARATION OF MICHAEL DEVEREUX
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               1                          It would have also been equitable for the Sheriff to reach
               2
                                          out to Plaintiff to compensate him for his loss. Further
               3

               4                          discovery will show that neither took place in 2017.

               5                       9. Further discovery will establish that the Sheriff knew or
               6
                                          should have known that in mid 2018, on public record,
               7

               8                          Collins admitted to the unlawful seizure under the color of
               9                          law in his plea agreement. At this time, it would have
              10
                                          been reasonable for the Sheriff to reopen the matter. It
              11

              12                          would have also been reasonable for the Sheriff to reach
WEXFORD LAW




              13                          out to Plaintiff to compensate him for his loss. Neither
              14
                                          took place.
              15

              16                       10. Further discovery will prove that in late 2018, Collins
              17                          pled in open court and admitted to the unlawful seizure
              18
                                          under the color of law. At that time, the County and the
              19

              20                          Sheriff refused or failed to bring charges against Collins.
              21
                                          It would have been reasonable for the Sheriff to reopen
              22
                                          the matter. It would have also been reasonable for the
              23

              24                          Sheriff to reach out to Plaintiff to compensate him for his
              25
                                          loss. Neither took place.
              26
                                       11.Law enforcement who seized property unlawfully are not
              27

              28                          entitled to qualified immunity pursuant to §1983 since no
                                                          7
                                       DECLARATION OF MICHAEL DEVEREUX
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               1                          reasonable officer could have believed that probable cause
               2
                                          existed. See 42 USCA § 1983, Notes of Decisions,
               3

               4                          Westlaw, Lavassanit v. City of Canton, 760 F.Supp.2d

               5                          1346 (2010 N.D.Ga.). Further evidence will prove that
               6
                                          Collins unlawfully seized the money under the color of
               7

               8                          law, and the County did nothing about it.
               9                       12. Further discovery will determine that the Sheriff and the
              10
                                          County are not entitled to qualified immunity agains a
              11

              12                          claim of unreasonable seizure in violation of the Fourth
WEXFORD LAW




              13                          Amendment, since it was not objectively reasonable for
              14
                                          the Defendants to believe that as reasonable suspicion
              15

              16                          existed for the seizure. A reasonably competent deputy
              17                          and county official would not believe that it had
              18
                                          reasonable suspicion to stop the vehicle. See 42 USCA §
              19

              20                          1983, Notes of Decisions, Westlaw, Matthews v. City of
              21
                                          New York, 889 F.Supp.2d 418 (2012 E.D.N.Y). Here we
              22
                                          will discover that there was no reason for the stop and no
              23

              24                          reason for the seizure. Moreover, further discovery will
              25
                                          prove that there was no reason not to compensate Plaintiff
              26
                                          for his loss.
              27

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                                                          8
                                       DECLARATION OF MICHAEL DEVEREUX
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               1                iii. Reasonable officers in the position of the Sheriff could not have
               2
                                    believed that it was constitutional to abuse their authority in
               3

               4                    covering up for a fellow officer accused of a crime, in

               5                    retaliation against the citizen Plaintiff for accusing such fellow
               6
                                    officer of a crime. Thus the Sheriff and the County are not
               7

               8                    entitled to qualified immunity. See 42 USCA § 1983, Notes of
               9                    Decisions, Westlaw, Lawrence v. City of St. Paul, 740 F.Supp
              10
                                    2d 1026 (2010). Law enforcement no entitled to qualified
              11

              12                    immunity for retaliation. See 42 USCA § 1983, Notes of
WEXFORD LAW




              13                    Decisions, Westlaw, Mata v. Anderson,685 F.Supp.2d 1223
              14
                                    (2010 D.N.M.).
              15

              16                       1. Here further discovery will show that probable cause did
              17                           not exist to justify the unlawful seizure under the color of
              18
                                           law. In addition, further discovery will show that the
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              20                           Sheriff had many occasions to determine thatthere was no
              21
                                           probable cause (in 2014, 2017, and 2018) to justify the
              22
                                           seizure. A reasonable jury could determine that the refusal
              23

              24                           / failure to take action against Collins and/or to return the
              25
                                           funds was in retaliation against Plaintiff for reporting a
              26
                                           fellow deputy.
              27

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                                                            9
                                       DECLARATION OF MICHAEL DEVEREUX
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                1                       2. Further discovery will show that the Sheriff and the
                2
                                           County had more than four years, but refused / failed to
                3

                4                          return the property, or to take any action. Again a

                5                          reasonable jury could determine that the refusal / failure to
                6
                                           return the funds was in retaliation against Plaintiff
                7

                8                          reporting a fellow deputy.
                9                       3. Further discovery will show that the decision not to
               10
                                           prosecute Collins or the decision not to refund Plaintiff
               11

               12                          was motivated by a desire to retaliate against Plaintiff for
WEXFORD LAW




               13                          reporting the incident. If so, then the Defendants are
               14
                                           precluded from summary judgment for First Amendment
               15

               16                          retaliation. See 42 USCA § 1983, Notes of Decisions,
               17                          Westlaw, Mandell v. County of Suffolk, 316 F.3d 368
               18
                                           1223 (2003 Second Circuit).
               19

               20           d. FURTHER DISCOVERY WILL PROVE THAT LT. KIMURA’S
               21
                               AFFIDAVIT IS A SHAM
               22
                                  i. In the motion for summary judgement, Lt. Kimura attached two
               23

               24                    exhibits to his declaration. Both exhibits were purported
               25
                                     mailings by Lt. Kimura to Plaintiff. These mailings are suspect
               26
                                     for a variety of reasons: 1) The mailings were adddressed to
               27

               28                    Plaintiff directly and not to his attorney; 2) both mailings had
                                                           10
                                       DECLARATION OF MICHAEL DEVEREUX
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                1                      USPS certified labels attached to them; 3) there is no online
                2
                                       record of such mailings within the USPS system. Further
                3

                4                      discovery will prove that these mailings did not exist. If so, then

                5                      Plaintiff is entitled to strike Lt. Kimura’s affidavit which appears
                6
                                       to be a significant factor to the motion for summary judgment.
                7

                8   I declare the foregoing to be true and correct under the penalty of perjury.
                9   EXECUTED on December 1, 2020, at Beverly Hills, California.
               10

               11                                                   Michael Devereux
               12                                                      Michael Devereux
WEXFORD LAW




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                                          DECLARATION OF MICHAEL DEVEREUX
